8:11-cr-00312-LSC-TDT          Doc # 106      Filed: 07/27/12     Page 1 of 4 - Page ID # 431




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                               )
                                                        )
                      Plaintiff,                        )
                                                        )       CASE NO. 8:11CR312
       vs.                                              )
                                                        )   PRELIMINARY ORDER
JASON BRASCH,                                           )     OF FORFEITURE
                                                        )
                      Defendant.                        )



       This matter comes on before the Court upon the United States= Motion for Issuance of

Preliminary Order of Forfeiture (Filing No. 105). The Court reviews the record in this case and,

being duly advised in the premises, finds as follows:

       1. The Defendant has entered into a Plea Agreement whereby he has agreed to enter a plea

of guilty to Count I and the Forfeiture Allegation of said Indictment. Count I charged the

Defendant with conspiracy to manufacture and attempt to manufacture marijuana plants, in

violation of 21 U.S.C. ' 846. The Forfeiture allegation charged the Defendant with using the

following properties to facilitate the commission of the conspiracy and charges said personal

properties are derived from proceeds obtained directly or indirectly as a result of the commission

of the conspiracy.

               a.     $6,000.00 in United States Currency seized on August 24,
                      2011, from a safe at 12319 Gray Fawn Parkway, Omaha,
                      Nebraska.

               b.     $619.00 in United States Currency seized on August 24,
                      2011, from an upstairs bedroom at 12319 Gray Fawn
                      Parkway, Omaha, Nebraska.


                                                1
8:11-cr-00312-LSC-TDT           Doc # 106      Filed: 07/27/12     Page 2 of 4 - Page ID # 432




               c.      $11,200.00 in United States Currency seized on August 24,
                       2011, from Unit No. 709 at 2805 South 148th Avenue Circle,
                       Omaha, Nebraska.

               d.      A    2006   Dodge     Ram     1500      Pickup, VIN
                       1D7HU18236S586540, located at 12319 Gray Fawn
                       Parkway, Omaha, Nebraska, on August 24, 2011.


       2. By virtue of said plea of guilty, the Defendant forfeits his interest in the subject

properties, and the United States should be entitled to possession of said properties, pursuant to

21 U.S.C. ' 853.

       IT IS THEREFORE ORDERED:

       A. The United States= Motion for Issuance of Preliminary Order of Forfeiture (Filing No.

105) is hereby sustained.

       B. Based upon the Forfeiture Allegation of the Indictment and the Defendant=s plea of

guilty, the United States is hereby authorized to seize the following properties:

               1.      $6,000.00 in United States Currency seized on August 24,
                       2011, from a safe at 12319 Gray Fawn Parkway, Omaha,
                       Nebraska.

               2.      $619.00 in United States Currency seized on August 24,
                       2011, from an upstairs bedroom at 12319 Gray Fawn
                       Parkway, Omaha, Nebraska.

               3.      $11,200.00 in United States Currency seized on August 24,
                       2011, from Unit No. 709 at 2805 South 148th Avenue Circle,
                       Omaha, Nebraska.

               4.      A    2006   Dodge     Ram     1500      Pickup, VIN
                       1D7HU18236S586540, located at 12319 Gray Fawn
                       Parkway, Omaha, Nebraska, on August 24, 2011.




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8:11-cr-00312-LSC-TDT            Doc # 106       Filed: 07/27/12      Page 3 of 4 - Page ID # 433




        C. The Defendant=s interest in the aforementioned properties is hereby forfeited to the

United States for disposition in accordance with the law, subject to the provisions of 21 U.S.C.

' 853(n)(1).

        D. The aforementioned properties are to be held by the United States in its secure custody

and control.

        E. Pursuant to 21 U.S.C. ' 853(n)(1), the United States forthwith shall publish for at least

thirty consecutive days on an official internet government forfeiture site, www.forfeiture.gov,

notice of this Order, Notice of Publication evidencing the United States= intent to dispose of the

properties in such manner as the Attorney General may direct, and notice that any person, other

than the Defendant, having or claiming a legal interest in any of the subject properties must file a

Petition with the court within thirty days of the final publication of notice or of receipt of actual

notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E, above, shall be

for a hearing to adjudicate the validity of the Petitioner=s alleged interest in the properties, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner=s right, title or interest in the subject properties and any additional facts supporting the

Petitioner=s claim and the relief sought.

        G. The United States may also, to the extent practicable, provide direct written notice to

any person known to have alleged an interest in the properties subject to this Order as a substitute

for published notice as to those persons so notified.

        H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C. ' 853(n), in which all interests will be addressed.



                                                   3
8:11-cr-00312-LSC-TDT      Doc # 106      Filed: 07/27/12   Page 4 of 4 - Page ID # 434




     DATED this 27th day of July, 2012.

                                               BY THE COURT:


                                               s/Laurie Smith Camp
                                               Chief United States District Judge




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